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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
    v.                             )           2:12cr48-MHT
                                   )               (WO)
MICHAEL SMITH                      )

                                ORDER

    It is ORDERED that defendant Michael Smith’s motions

to inspect jury documents (doc. nos. 287 & 305) are

referred   to   United    States       Magistrate   Judge    Terry      F.

Moorer for report and recommendation.

    DONE, this the 26th day of June, 2013.



                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
